                 Case 1:21-cv-00014 Document 53 Filed 05/24/24 Page 1 of 1
                                                                                  FILED
                                                                                     Clerk
                                                                                 District Court
                                                                               MAY 24 2024
 1
                                                            for the Northern Mariana Islands
 2                                                          By________________________
                             IN THE UNITED STATES DISTRICT COURT (Deputy Clerk)
 3                           FOR THE NORTHERN MARIANA ISLANDS

 4
     XIAO PING WANG,                                          Case No. 1:21-cv-00014
 5                         Plaintiff,
 6                  v.                                 ORDER GRANTING MOTION TO
                                                          EXTEND DEADLINE FOR
 7   KENNETH CAMACHO, in his personal                   SUBMISSION OF PLAINTIFF’S
     and official capacity,                              SETTLEMENT STATEMENT
 8
                           Defendant.
 9

10          For good cause shown and pursuant to Local Rule 7.1(f), the Court hereby GRANTS the

11 Motion to Extend Deadline for Submission of Plaintiff’s Settlement Statement (ECF No. 51) filed

12 by Stephen J. Nutting, Esq. The deadline for pro se Plaintiff Xiao Ping Wang’s settlement

13 statement with demand due May 23, 2024 (ECF No. 49), is hereby extended to May 31, 2024.

14 Accordingly, Defendant’s response to the settlement statement is now due no later than June 14,

15 2024. The settlement conference in this matter set for June 20, 2024, at 8:30 a.m. remains the same.

16 (Id.)

17          IT IS SO ORDERED this 24th day of May 2024.

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19                                                       _________________________________
                                                         RAMONA V. MANGLONA
20                                                       Chief Judge

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